Case 2:03-cr-20334-SH|\/| Document 41 Filed 07/14/05 Page 1 of 2 Page|D 35

 

IN THE uNITED sTATEs DISTRICT coURT .H_ED
FoR TH:E: wEsTERN DISTRICT oF TENNESSEE By -_ ga
wEsTERN DJ:v:csIoN 05 JUL H,
h= 53
UNITED sTATEs oF Am."RIcA, QM§)US Mm%fup
'~’ TCOUJT

Plaintiff,
V. CR. NO. 03-20334-Ma

PRISCILLA MCNEAL,

'-d`-I`J\-i\-¢\-/\-I`J`_¢

Defendant.

 

ORDER DIRECTING CLERK TO ISSUE WRIT OF HABEAS CORPUS

 

This matter is set for a re-sentencing hearing on
Tuesdayc Augu§; 23l 2005 at 1:45 p.m. The defendant, Priscilla
McNeall #19157-076, is confined as a prisoner at Federal Medical
Center, Carswell, Ft. Worth, Texas. It is necessary to have
Priscilla McNeal appear in this court for the hearing.

IT IS THEREFORE ORDERED that the Clerk of Court issue a writ of
habeas corpus ad testificandum to the United States Marshal for the
Western District of Tennessee, and to the Warden, Federal Medical
Center, Carswell, Ft. worth, Texas, to have said Priscilla McNeal

before this court for the hearing.

N€//’L

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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July ___,_, 2005.

 

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UNITD sATEs DRISTIC COURT - WETERN DISITRCT oF TENNESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case 2:03-CR-20334 Was distributed by faX, mail, or direct printing on
July ]9, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

